Case 1:20-cv-24681-RNS Document 497 Entered on FLSD Docket 07/21/2023 Page 1 of 5




                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

   BLUEGREEN VACATIONS UNLIMITED,
   INC., et al.,

           Plaintiffs,
                                                                CASE NO: 1:20-cv-24681-RNS
   vs.

   TIMESHARE LAWYERS, P.A., et al.,

           Defendants.
                                                  /


       PANDORA MARKETING, LLC, RICH FOLK AND WILLIAM WILSON’S
            UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL
     EXHIBITS 1-2 TO THE DECLARATION OF SCOTT GREY [ECF NO. 496-1] AND
     EXHIBITS 1-44 TO THE DECLARATION OF SEAN SLATTERY [ECF NO. 496-2]

          Defendants Pandora Marketing, LLC, Rich Folk and William Wilson (collectively
  “Pandora”), pursuant to Local Rule 5.4(b)(1), respectfully move this Honorable Court for an order
  granting it leave to file under seal:
          i)      The full Declaration of Scott Grey (ECF No. 496-1) (portions currently redacted);
          ii)     Exhibits 1-2 (currently redacted in their entirety) to the Declaration of Scott Grey
                  (ECF No. 496-1);
          iii)    The full Declaration of Sean Slattery (ECF No. 496-2) (portions currently
                  redacted);
          iv)     Exhibits 1-44 (currently redacted in their entirety) to the Declaration of Sean
                  Slattery (ECF No. 496-2).
          Pandora further requests that the documents remain under seal until: 1) the conclusion of
  this litigation; or 2) this Court rescinds the confidential designation applied to these exhibits.
                                           BACKGROUND
          On July 21, 2023, Pandora filed the Declaration of Scott Grey (ECF No. 496-1). The
  testimony in the Grey Declaration includes the redaction of client names and Exhibits 1-2 are
  redacted in their entirety. Also on July 21, 2023, Pandora filed the Declaration of Sean Slattery



  285122279v.1
Case 1:20-cv-24681-RNS Document 497 Entered on FLSD Docket 07/21/2023 Page 2 of 5




  (ECF No. 496-2). The testimony in the Grey Declaration includes redactions of names and
  Exhibits 1-44 of the declaration have been redacted in their entirety.
          Exhibits 1-2 of the Grey Declaration and Exhibits 1-40 of the Slattery Declaration are
  composite exhibits consisting of settlement agreements, releases, and other documents relating to
  Pandora clients and Bluegreen and Pandora clients and other timeshare developers.               The
  documents include the names, addresses, telephone numbers, emails, social security numbers, and
  other personal information relating to these clients. In addition to personal client information,
  many of the documents consist of proprietary business records generated by Bluegreen and the
  other developers. Further, the testimony contained within the Grey and Slattery Declarations also
  contains the names (currently redacted) of Pandora clients and owners of timeshare developers,
  including Bluegreen.
          Exhibits 41-44 to the Slattery Declaration is a composite exhibit consisting of awards
  entered in arbitrations between Diamond (a timeshare developer) and timeshare owners who are
  clients of both Pandora and former Defendant Carlsbad. Pursuant to the confidentiality provisions
  of the arbitration forums used in these arbitrations, AAA and JAMS, all filings in these arbitration
  proceedings are confidential. The documents also include the names, addresses, telephone
  numbers and other personal information relating to these clients.
          Further, Pandora has designated the foregoing documents as confidential pursuant to the
  Confidentiality Agreement entered into by the parties. Pandora has no personal stake in these
  documents, and files this motion for purposes of protecting the rights of other parties, including
  the non-party Pandora clients/Bluegreen timeshare owners.
          Lastly, this Court has previously granted motions by the parties to file similar documents
  under seal. See ECF Nos. 281, 284, 291, 338, 349, 476. In addition, Plaintiffs do not oppose this
  motion.
                                            ARGUMENT
          “The common-law right of access to judicial proceedings, an essential component of our
  system of justice, is instrumental in securing the integrity of the process.” Chicago Tribune Co. v.
  Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001). This right of access includes
  the right to inspect and copy public records and documents. Nixon v. Warner Comm., Inc., 435
  U.S. 589, 597 (1978). But “the right to inspect and copy judicial records is not absolute,” id., and
  “may be overcome by a showing of good cause, which requires ‘balancing the asserted right of

                                                   2

  285122279v.1
Case 1:20-cv-24681-RNS Document 497 Entered on FLSD Docket 07/21/2023 Page 3 of 5




  access against the other party’s interest in keeping the information confidential.’” Romero v.
  Drummond Co., Inc., 480 F.3d 1234, 1246 (11th Cir. 2007), quoting Chicago Tribune, 263 F.3d
  at 1309. The Court has “discretion to determine which portions of the record should be placed
  under seal,” and “this discretion is ‘to be exercised in light of the relevant facts and circumstances
  of the particular case.’” Perez-Guerrero v. U.S. Atty. Gen., 717 F.3d 1224, 1235 (11th Cir. 2013),
  quoting Nixon, 435 U.S. at 597. In balancing the interest of the party seeking to seal court records
  and the public’s right of access, “courts consider, among other factors, whether allowing access
  would impair court functions or harm legitimate privacy interests, the degree of and likelihood of
  injury if made public, the reliability of the information, whether there will be an opportunity to
  respond to the information, whether the information concerns public officials or public concerns,
  and the availability of a less onerous alternative to sealing the documents.” Romero, 480 F.3d at
  1246. A party’s “privacy or proprietary interest in information” can “overcome[] the interest of
  the public in accessing the information.” Id.
          As set forth above, the testimony within the Grey and Slattery Declarations, Exhibits 1-2
  to the Grey Declaration, Exhibits 1-40 to the Slattery Declaration contain personal information of
  Pandora clients and Bluegreen owners, as well as owners of other timeshare developers, including
  names, addresses, phone numbers, and social security numbers. Disclosure of such personal and
  proprietary information will potentially cause injury if made a part of the public record. Moreover,
  with respect to the client information, these third parties may suffer financial crimes or harm if
  their sensitive information is made public. Courts have held that such confidential information
  should be filed under seal. See, e.g., Awareness Ave. Jewelry v. P’ship, 2023 U.S. Dist. LEXIS
  79209, at * 2 (MD Fla. 2023); Local Access, LLC v. Peerless Network, Inc., 2022 U.S. Dist. LEXIS
  223596, at *8 (MD Fla. 2022).
          In addition, Exhibits 41-44 of the Slattery Declaration also contain awards entered in
  arbitrations between the timeshare developer Diamond and timeshare owners who are clients of
  both Pandora and former Defendant Carlsbad. Pursuant to the confidentiality provisions of the
  arbitration forums used in these arbitrations, AAA and JAMS, all filings in these arbitration
  proceedings are confidential. As such, it is appropriate to file these arbitration awards under seal.
  See, e.g., Barkley v. Pizza Hut of Am., Inc., No. 6:14-cv-376-Orl-37DAB, 2015 U.S. Dist. LEXIS
  137682, 2015 WL 5915817, at *2 (M.D. Fla. 2015); Barkley v. Pizza Hut of Am., Inc., 2015 U.S.
  Dist. LEXIS 137682, at *7 (M.D. Fla. 2015).

                                                    3

  285122279v.1
Case 1:20-cv-24681-RNS Document 497 Entered on FLSD Docket 07/21/2023 Page 4 of 5




          Further, filing the documents under seal will not impair the functions of the Court and a
  less onerous means to sealing the proposed sealed materials does not exist.
          Finally, this Court has previously granted motions by the parties to file similar documents
  under seal containing personal information of third parties and proprietary information of the
  parties. See ECF No. 281, 284, 291, 338, 349, 476. In addition, Plaintiffs do not oppose this
  motion.
                                            CONCLUSION
          Based upon the foregoing, Pandora respectfully requests that this Honorable Court enter
  an order granting Pandora leave to file under seal:
          i)     The full Declaration of Scott Grey (ECF No. 496-1) (portions currently redacted);
          ii)    Exhibits 1-2 (currently redacted in their entirety) to the Declaration of Scott Grey
                 (ECF No. 496-1);
          iii)   The full Declaration of Sean Slattery (ECF No. 496-2) (portions currently
                 redacted);
          iv)    Exhibits 1-44 (currently redacted in their entirety) to the Declaration of Sean
                 Slattery (ECF No. 496-2).
          Pandora further requests that the documents remain under seal until: 1) the conclusion of
  this litigation; or 2) this Court rescinds the confidential designation applied to these exhibits.


                    LOCAL RULE 7.1(a)(3) CERTIFICATE OF CONFERAL
          The undersigned hereby certifies that Pandora’s counsel conferred with Plaintiffs’ counsel
  on this motion, and Plaintiffs do not oppose this motion.


  Date: July 21, 2023                                    Respectfully submitted,

  /s/ John Y. Benford                                    /s/ Patrick A. Bradford

  John Y. Benford, Esq.                                  Patrick A. Bradford, Esq.
  Florida Bar: 51950                                     (admitted pro hac vice)
  Wilson Elser Moskowitz                                 Bradford Edwards & Varlack LLP
  Edelman & Dicker LLP                                   12 East 49th Street, 11th Floor
  111 North Orange Avenue Suite 1200                     New York, NY. 10017
  Orlando, Florida 32801                                 Phone: (917) 671-9406


                                                    4

  285122279v.1
Case 1:20-cv-24681-RNS Document 497 Entered on FLSD Docket 07/21/2023 Page 5 of 5




  Phone: 407.203.7594                                     E-mail: pbradford@bradfordedwards.com
  E-mail: john.benford@wilsonelser.com                    Attorneys for Pandora Marketing, LLC,
  Attorneys for Pandora Marketing, LLC,                   William Wilson, and Rich Folk
  William Wilson, and Rich Folk

                                 CERTIFICATE OF SERVICE
          I hereby certify that on July 21, 2023, the foregoing document was filed using the CM/ECF
  system for the United States District Court, Southern District of Florida, which will send electronic
  notice of the foregoing to all counsel of record.


                                                                /s/ John Y. Benford
                                                                John Y. Benford, Esquire




                                                      5

  285122279v.1
